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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



UNITED STATES OF AMERICA                         CR 05-60008-02-HO

              v.

PIROUZ SEDAGHATY,                                EXHIBIT B TO DECLARATION OF
                                                 CHRISTOPHER L. CARDANI
                      Defendant.

In re AL RAJHI BANK SUBPOENA

AL RAJHI BANKING &
INVESTMENT CORP,
Real party in interest

                      Respondent.
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                       United States Department of Justice
                         United States Attorney's Office
                                                                                          ORIG1NAL
                            for the District of Oregon

                                ADMINISTRATIVE SUBPOENA

          To: AI Rajhi Banking and Investment; Al-Rajhi Bank
              c/o King & Spalding
              Attn: Isam Salah, Partner
              1185 Avenue of Americas
              New York, New York
              Telephone: (217) 556-2140



        By service oHhis subpoena upon you, you are hereby commanded and required to appear before the
Internal Revenue Service Criminal Investigation Division and to bring with you and produce for
examination the following books, records and papers at the time and place set forth below.

REQUIRED DOCUMENTS

       Authenticated copies of certified bank records, belonging to Soliman AI-But'he from the Al
Rajhi Bank:, in Riyadh, Saudi Arabia. The records should cover the time period between February 1,
2000 through April 30, 2000, and should inClude the following documents:

   Account records for account number 140608010109206 for the time period of February, March, and

   April of 2000, to inClude:

   (1) Copies of signature cards and customer applications;

   (2) Copies ofbank statements, ledger cards, or records reflecting dates and amounts ofdeposits and
   withdrawals;

   (3) Copies of debit and credit memos;

   (4) Copies of deposit slips and checks deposited (inCluding the backs of the checks);

   (5) Copies of withdrawal slips and teller records showing the withdrawal of currency, including
   records reflecting the type of currencyreceived (U.s. dollars ot Saudi Riyals);

   (6) Copies of checks issued for withdrawals (including the backs of the checks);

   (7) Copies of all records reflecting the cashing of traveler's checks~ including teller records, receipts
   indicating the number of cashier's checks cashed, the denominations of the cashier's checks cashed,
   and the type of currency received (U.S. dollars or Saudi Riyals);
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   (8) Records reflecting the customer exchange rate of U.S. dollars to Saudi Riyals on March 13,
   2000, March 14,2000, March 27,2000, and March 28, 2000;

   (9) Records pertajning to the cashing of 130 $1,000 American Express Traveler's checks by
   Soliman AI-But'he in March of 2000 at AI Rajhi Bank, to include the date and time of the
   transaction, the amount of the transaction,. and type of currency received by AI-But'he (U.S. dollars
   or Saudi Riyals). (A copy of one of the traveler's cheeks is attached for review); and

   (10) Records pertaining to the·deposit and any subsequent disposition of a Bank of America
   cashier's check, check number 1001040568, issued to Soliman AI-But'he on March 11,2000,
   for $21,000. (A copy of the cashiers check is attached for review.)


PLACE AND TIME OF APPEARANCE

Internal Revenue Service
Criminal Investigation Division
960 Ellendale, Suite A
Medford, Oregon 97504

August 28, 2009; 10:00 a.m.




Issued under authority of 31 United States code, Section 5318(k)(3),by a duly authorized delegate
of the Attorney General.



                                                   MLf&
                                                Kent S. Robinson
                                                Acting United States Attorney
                                                U.S. Attorney's Office for the District of Oregon
                                                U.S. Department of Justice




Name, address and phone number of government attorney and investigating agent:

Charles F. Gorder, Jr.,                             Special Agent Colleen Anderson
Assistant United States Attorney                    Internal Revenue Service cm
1000 SW Third Ave.~ Suite 600                       960 Bllendale, Suite A
Portland, OR 97204                                  Medford, Oregon 97504
(503) 727-1021                                      (541) 282-1341
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                                       PROOF OF SERVICE



         The attached Administrative Subpoena issued by the U.S. Attorney's Office for the

District ofOregon, U.S. Department of Justice, dated July 17,2009, for Al Rajhi Banking and

Investment; Al-Rajhi Bank was received byrne on (date)       ~-J--=-"~+-_:l_-+-t_J--"O'-U-t-
         I personally served the subpoena on Isam Salah, a partner of King & Spalding, at 1185

Avenue of Americas, New York, New York, who is designated by law to accept service of

process on behalf of Al Rajhi Banking and Investment; AI-Rajhi Bank on (date)

J""4~ 'J, 7, dOOt
         Because the subpoena was issued on behalf of the United States, or one of its officers or

agents, I have not tendered to the witness fees for one day's attendance and the mileage allowed

bylaw.



         I declare under penalty of perjury that this infonnation is true.




                                                Printed name and title
